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                                           UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF GEORGIA
                                                   ATLANTA DIVISION

       In re: HCG SOFTWARE, LLC                               §     Case No. 15-63347-JWC
                                                              §
                                                              §
                                                              §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              S. Gregory Hays, chapter 7 trustee, submits this Final Account, Certification that the Estate has been
      Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $44,896.27                              Assets Exempt: N/A
      (without deducting any secured claims)

      Total Distributions to Claimants:    $39,000.00              Claims Discharged
                                                                   Without Payment: N/A


      Total Expenses of Administration:     $80,233.13




                3) Total gross receipts of $119,233.13 (see Exhibit 1), minus funds paid to the debtor and third
      parties of $0.00 (see Exhibit 2), yielded net receipts of $119,233.13 from the liquidation of the property of the
      estate, which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                    $494,148.07           $39,000.00           $39,000.00           $39,000.00
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00          $140,939.44          $140,939.44           $80,233.13


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                               $30,233.63           $51,575.01           $51,575.01                 $0.00

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                            $3,298,064.71        $4,012,115.15        $4,012,115.15                 $0.00


   TOTAL DISBURSEMENTS                         $3,822,446.41        $4,243,629.60        $4,243,629.60          $119,233.13




                 4) This case was originally filed under chapter 7 on 07/16/2015. The case was pending for 64
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        12/02/2020                        By: /s/ S. Gregory Hays
                                                                          Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                 $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1              RECEIVED

 Servers                                                                                        1129-000                    $3,500.00

 Avoidance Action Claims                                                                        1241-000                    $2,759.34

 Software and associated software code                                                          1129-000                   $83,000.00

 Computers and monitors                                                                         1129-000                    $1,500.00

 Tax Refunds                                                                                    1224-000                      $384.12

 Judgment Against Public Sector Solutions, Inc                                                  1149-000                   $25,000.00

 Insurance Payment                                                                              1229-000                      $500.00

 Accounts Receivable                                                                            1121-000                    $1,589.67

 Miscellaneous office equipment (See Attachment B                                               1129-000                    $1,000.00

                             TOTAL GROSS RECEIPTS                                                                       $119,233.13

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM        $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE         PAID

                                                                          None




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EXHIBIT 3 - SECURED CLAIMS



                                       UNIFORM        CLAIMS
    Claim                                                            CLAIMS         CLAIMS               CLAIMS
               CLAIMANT                 TRAN.       SCHEDULED
     NO.                                                            ASSERTED       ALLOWED                PAID
                                        CODE      (from Form 6D)


              Payment of secured       4210-000               NA     $39,000.00     $39,000.00          $39,000.00
              claim in assets sold.
     N/F      Parsons Farnell &        4110-000       $248,227.91           NA             NA                  NA
              Grein, LLP Davis Galm
              Law Firm/Paul Galm
     N/F      William C. Smith, Jr.    4110-000       $245,920.16           NA             NA                  NA

                TOTAL SECURED                         $494,148.07    $39,000.00     $39,000.00          $39,000.00




EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM       CLAIMS          CLAIMS         CLAIMS               CLAIMS
   PAYEE                                TRAN.      SCHEDULED        ASSERTED       ALLOWED                PAID
                                        CODE

 Trustee, Fees - S. Gregory Hays,      2100-000                NA      $9,211.66     $9,211.66           $4,831.75
 Trustee
 Trustee, Expenses - S. Gregory        2200-000                NA       $295.09        $295.09            $154.77
 Hays, Trustee
 Accountant for Trustee, Fees - Hays   3310-000                NA     $36,150.00    $36,150.00          $18,961.58
 Financial Consulting LLC
 Accountant for Trustee, Expenses -    3320-000                NA      $1,552.56     $1,552.56            $814.36
 Hays Financial Consulting LLC
 Banking and Technology Service        2600-000                NA       $499.71        $499.71            $499.71
 Fee - East West Bank
 Banking and Technology Service        2600-000                NA        $61.63         $61.63             $61.63
 Fee - East West Bank
 Banking and Technology Service        2600-000                NA      $3,103.04     $3,103.04           $3,103.04
 Fee - Rabobank, N.A.
 Attorney for Trustee Fees (Other      3210-000                NA     $79,824.50    $79,824.50          $41,869.94
 Firm) - Arnall Golden Gregory LLP
 Attorney for Trustee Fees (Other      3210-000                NA      $9,600.00     $9,600.00           $9,600.00
 Firm) - Pierce McCoy PLLC
 Attorney for Trustee Expenses         3220-000                NA       $641.25        $641.25            $336.35
 (Other Firm) - Arnall Golden
 Gregory LLP
 TOTAL CHAPTER 7 ADMIN. FEES
                                                               NA    $140,939.44   $140,939.44          $80,233.13
        AND CHARGES




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EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                         UNIFORM         CLAIMS            CLAIMS      CLAIMS           CLAIMS
        PAYEE
                        TRAN. CODE     SCHEDULED          ASSERTED    ALLOWED            PAID

                                                   None




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 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                        CLAIMS
                                       UNIFORM        CLAIMS
                                                                       ASSERTED         CLAIMS              CLAIMS
 CLAIM NO.          CLAIMANT            TRAN.      SCHEDULED
                                                                    (from Proofs of    ALLOWED               PAID
                                        CODE      (from Form 6E)
                                                                         Claim)

     1P       Internal Revenue         5800-000               NA               $0.00         $0.00             $0.00
              Service

    1P-2      Internal Revenue         5800-000               NA               $0.00         $0.00             $0.00
              Service

    1P-3      Internal Revenue         5800-000               NA               $0.00         $0.00             $0.00
              Service

    1P-4      Internal Revenue         5800-000               NA               $0.00         $0.00             $0.00
              Service

    1P-5      Internal Revenue         5800-000             $0.00            $396.83      $396.83              $0.00
              Service

     2        Tracy Blom               5300-000         $1,375.00          $1,650.00     $1,650.00             $0.00


     3P       Kristina M. Smith        5300-000         $3,384.62         $12,475.00    $12,475.00             $0.00


     5        Shellie Tetzlaff         5300-000               NA             $506.62      $506.62              $0.00


     7        Molly Bradley            5300-000         $9,317.31          $9,317.31     $9,317.31             $0.00


     8P       Brandon Frost            5300-000               NA          $12,475.00    $12,475.00             $0.00


     9        Department of            5800-000           $150.00            $150.30      $150.30              $0.00
              Consumer & Business
              Services

    14P       Scott D. Stanton Trust   5300-000               NA               $0.00         $0.00             $0.00


    17P       Scott D. Stanton         5300-000               NA          $12,475.00    $12,475.00             $0.00


     20       Sheri Y. Peterson        5300-000           $387.50            $387.50      $387.50              $0.00


    21P       Oregon Department of     5800-000               NA               $0.00         $0.00             $0.00
              Revenue

    21P-2     Oregon Department of     5800-000               NA               $0.00         $0.00             $0.00
              Revenue

    21P-3     Oregon Department of     5800-000               NA               $0.00         $0.00             $0.00
              Revenue

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    21P-4     Oregon Department of   5800-000             NA           $0.00         $0.00          $0.00
              Revenue

    21P-5     Oregon Department of   5800-000       $8,819.20      $1,531.79     $1,531.79          $0.00
              Revenue

    22P       City of Portland       5800-000        $200.00        $209.66        $209.66          $0.00


    N/F       Eric Smith             5300-000       $2,250.00            NA            NA             NA


    N/F       Lori Forbess           5300-000       $4,350.00            NA            NA             NA


             TOTAL PRIORITY
            UNSECURED CLAIMS                       $30,233.63     $51,575.01    $51,575.01          $0.00




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 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                         CLAIMS
                                        UNIFORM        CLAIMS
                                                                        ASSERTED         CLAIMS              CLAIMS
 CLAIM NO.         CLAIMANT              TRAN.      SCHEDULED
                                                                     (from Proofs of    ALLOWED               PAID
                                         CODE      (from Form 6F)
                                                                          Claim)

     1U       Internal Revenue          7300-000               NA               $0.00         $0.00             $0.00
              Service

    1U-2      Internal Revenue          7300-000               NA               $0.00         $0.00             $0.00
              Service

    1U-3      Internal Revenue          7300-000               NA               $0.00         $0.00             $0.00
              Service

    1U-4      Internal Revenue          7300-000               NA               $0.00         $0.00             $0.00
              Service

    1U-5      Internal Revenue          7300-000               NA              $43.14       $43.14              $0.00
              Service

     3U       Kristina M. Smith         7100-000         $2,992.16          $3,379.15     $3,379.15             $0.00


     4        Energetiq Technology,     7100-000               NA          $12,000.00    $12,000.00             $0.00
              Inc.

     6        Global Network            7100-000        $14,181.50         $15,186.50    $15,186.50             $0.00
              Support, Inc.

     8U       Brandon Frost             7100-000             $0.00          $2,397.78     $2,397.78             $0.00


     10       Christina Pak-Hanratty    7100-000             $0.00        $100,000.00   $100,000.00             $0.00


     11       Bryan Cave LLP c/o        7100-000         $4,500.00         $20,311.14    $20,311.14             $0.00
              Sarah M. Good

     12       Daniel P. Stanton Trust   7100-000             $0.00         $75,000.00    $75,000.00             $0.00
              Attn: Dan Stanton

     13       Parsons Farnell &         7100-000               NA         $247,227.91   $247,227.91             $0.00
              Grein, LLP

    14U       Scott D. Stanton Trust    7100-000               NA               $0.00         $0.00             $0.00


     15       Scott D. Stanton          7100-000               NA         $370,600.00   $370,600.00             $0.00


     16       Scott D. Stanton Trust    7100-000       $236,552.00        $184,500.00   $184,500.00             $0.00


    17U       Scott D. Stanton          7100-000       $597,747.00        $512,609.00   $512,609.00             $0.00


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     18     William C. Smith, Jr.   7100-000    $2,240,073.39   $2,450,019.46   $2,450,019.46          $0.00


     19     Anthony C Seitz aka     7100-000      $16,023.57      $16,023.57      $16,023.57           $0.00
            Andy Seitz

    21U     Oregon Department of    7100-000              NA           $0.00           $0.00           $0.00
            Revenue

   21U-2    Oregon Department of    7100-000              NA           $0.00           $0.00           $0.00
            Revenue

   21U-3    Oregon Department of    7100-000              NA           $0.00           $0.00           $0.00
            Revenue

   21U-4    Oregon Department of    7100-000              NA           $0.00           $0.00           $0.00
            Revenue

   21U-5    Oregon Department of    7100-000              NA       $2,757.50       $2,757.50           $0.00
            Revenue

    22U     City of Portland        7100-000              NA          $60.00          $60.00           $0.00


    N/F     AT&T Mobility           7100-000         $100.95              NA              NA             NA


    N/F     Adelina Welch           7100-000           $0.00              NA              NA             NA


    N/F     Alan L Cook             7100-000           $0.00              NA              NA             NA


    N/F     Alicia Ruckwardt        7100-000           $0.00              NA              NA             NA


    N/F     April Finucane          7100-000           $0.00              NA              NA             NA


    N/F     Barbara Smith           7100-000           $0.00              NA              NA             NA


    N/F     Barrington              7100-000      $29,300.00              NA              NA             NA
            Management, LLC

    N/F     Brett Pull              7100-000           $0.00              NA              NA             NA


    N/F     Christian O Brahe-      7100-000           $0.00              NA              NA             NA
            Pedersen

    N/F     Cole Schotz Meisel      7100-000      $34,374.49              NA              NA             NA
            Forman & Le

    N/F     Comcast                 7100-000         $119.85              NA              NA             NA


    N/F     Comcast Business        7100-000         $403.14              NA              NA             NA




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    N/F     DHX Advertising        7100-000       $4,000.00          NA             NA          NA


    N/F     Dan Stanton            7100-000     $106,149.00          NA             NA          NA


    N/F     Daniel Carroll         7100-000           $0.00          NA             NA          NA


    N/F     David Driskill         7100-000           $0.00          NA             NA          NA


    N/F     Don Jurgens            7100-000           $0.00          NA             NA          NA


    N/F     Dwayne A Castrillon    7100-000           $0.00          NA             NA          NA


    N/F     Eric Smith             7100-000           $0.00          NA             NA          NA


    N/F     Erick Cloward          7100-000           $0.00          NA             NA          NA


    N/F     Erik Blanchard         7100-000           $0.00          NA             NA          NA


    N/F     Erwin Thomas           7100-000           $0.00          NA             NA          NA


    N/F     Jack Horn              7100-000           $0.00          NA             NA          NA


    N/F     Jeffrey J Stupfel      7100-000           $0.00          NA             NA          NA


    N/F     John C. Herbers        7100-000           $0.00          NA             NA          NA


    N/F     John R Falkey          7100-000           $0.00          NA             NA          NA


    N/F     John Scott             7100-000           $0.00          NA             NA          NA


    N/F     Justin Collum          7100-000           $0.00          NA             NA          NA


    N/F     Karen L Peterson       7100-000           $0.00          NA             NA          NA


    N/F     Kyle A McLenithan      7100-000           $0.00          NA             NA          NA


    N/F     Locology LLC           7100-000       $4,860.00          NA             NA          NA


    N/F     Lori L Forbess         7100-000           $0.00          NA             NA          NA


    N/F     Margaret Wallace       7100-000           $0.00          NA             NA          NA


    N/F     Marsha Smith           7100-000           $0.00          NA             NA          NA




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    N/F     Matthew Piatt           7100-000           $0.00              NA              NA             NA


    N/F     Michael Bruchey         7100-000           $0.00              NA              NA             NA


    N/F     Michael J Kephart       7100-000           $0.00              NA              NA             NA


    N/F     Molly Bradley           7100-000           $0.00              NA              NA             NA


    N/F     Nathan Anderson         7100-000           $0.00              NA              NA             NA


    N/F     Shellie Tetzlaff        7100-000         $130.66              NA              NA             NA


    N/F     Sheri Y Kennedy         7100-000           $0.00              NA              NA             NA
            Finucane

    N/F     Simon Buchard           7100-000           $0.00              NA              NA             NA


    N/F     Simon P Buchard         7100-000           $0.00              NA              NA             NA


    N/F     Steven Daniels          7100-000           $0.00              NA              NA             NA


    N/F     Technology              7100-000         $250.00              NA              NA             NA
            Association of Oreg

    N/F     The Hartford            7100-000       $1,767.00              NA              NA             NA


    N/F     Thompson Kessler        7100-000       $1,500.00              NA              NA             NA
            Wiest & Borqu

    N/F     Tracy L Blom            7100-000           $0.00              NA              NA             NA


    N/F     TravelerTravelers CLs   7100-000          $80.00              NA              NA             NA
            CL

    N/F     Travelers               7100-000          $80.00              NA              NA             NA


    N/F     VOIP Portland           7100-000         $180.00              NA              NA             NA


    N/F     Wade Wilson             7100-000           $0.00              NA              NA             NA


    N/F     Xuma                    7100-000       $2,700.00              NA              NA             NA


            TOTAL GENERAL
           UNSECURED CLAIMS                     $3,298,064.71   $4,012,115.15   $4,012,115.15          $0.00




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                                                                 Form 1
                                                                                                                                                        Exhibit 8
                                             Individual Estate Property Record and Report                                                               Page: 1

                                                              Asset Cases
Case No.:    15-63347-JWC                                                                   Trustee Name:      (300320) S. Gregory Hays
Case Name:         HCG SOFTWARE, LLC                                                        Date Filed (f) or Converted (c): 07/16/2015 (f)
                                                                                            § 341(a) Meeting Date:       08/25/2015
For Period Ending:          12/02/2020                                                      Claims Bar Date:      11/02/2015

                                        1                           2                      3                      4                    5                     6

                           Asset Description                     Petition/         Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
                (Scheduled And Unscheduled (u) Property)       Unscheduled        (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                                  Values                 Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                                 Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                            and Other Costs)

    1       Checks                                                  1,382.67                    1,382.67                                     0.00                         FA

    2       JPMorgan Chase Bank checking account                          0.00                      0.00                                     0.00                         FA

    3       U.S. Bank checking Account                                  346.60                   346.60                                      0.00                         FA

    4       Security deposit held by landlord                      34,667.00                        0.00                                     0.00                         FA
            Subject to offset against unpaid rent.

    5       Accounts Receivable                                    15,639.12                   15,639.12                               1,589.67                           FA

    6*      Judgment Against Public Sector                      1,031,652.50                   12,500.00                              25,000.00                           FA
            Solutions, Inc (See Footnote)

    7       Loan made to Andy Seitz                                 8,400.00                        0.00                                     0.00                         FA

    8       Unauthorized payments to Scott D.                       Unknown                         0.00                                     0.00                         FA
            Stanton

    9       Software and associated software code                   Unknown                    83,000.00                              83,000.00                           FA

   10       URL: previsionepm.com                                        50.00                     50.00                                     0.00                         FA

   11       URL: hcgsoftware.com                                         50.00                     50.00                                     0.00                         FA

   12       Miscellaneous office equipment (See                     1,000.00                    1,000.00                               1,000.00                           FA
            Attachment B

   13       Computers and monitors                                  1,500.00                    1,500.00                               1,500.00                           FA

   14       Servers                                                 3,500.00                    3,500.00                               3,500.00                           FA

   15       Tax Refunds (u)                                               0.00                   382.67                                    384.12                         FA

   16       Avoidance Action Claims (u)                                   0.00                  2,759.34                               2,759.34                           FA

   17       Insurance Payment (u)                                         0.00                   500.00                                    500.00                         FA

   17       Assets Totals (Excluding unknown values)           $1,098,187.89               $122,610.40                           $119,233.13                        $0.00


         RE PROP# 6             Public-Sector Solutions ("PSS") filed Chapter 7 in the District of Maryland. The Trustee for PSS has resolved a fraudulent
                                conveyance claims in that matter. The Trustee negotiated a settlement with the Trustee in the PSS bankruptcy case.




 Major Activities Affecting Case Closing:




 Initial Projected Date Of Final Report (TFR): 12/31/2017                        Current Projected Date Of Final Report (TFR):             08/21/2020 (Actual)




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                                                                Form 2                                                                                Exhibit 9
                                                                                                                                                      Page: 1
                                                Cash Receipts And Disbursements Record
Case No.:              15-63347-JWC                                    Trustee Name:                        S. Gregory Hays (300320)
Case Name:             HCG SOFTWARE, LLC                               Bank Name:                           Mechanics Bank
Taxpayer ID #:         **-***6882                                      Account #:                           ******4866 Checking Account
For Period Ending:     12/02/2020                                      Blanket Bond (per case limit):       $30,203,000.00
                                                                       Separate Bond (if applicable):       N/A

    1            2                      3                                      4                                  5                       6                       7

  Trans.    Check or       Paid To / Received From         Description of Transaction         Uniform         Deposit               Disbursement        Account Balance
   Date      Ref. #                                                                          Tran. Code         $                         $

 08/04/15     {16}     Davis & Galm                   Preference funds from                   1241-000                2,759.34                                         2,759.34
                                                      garnishment to US Bank
 08/17/15     {15}     US Treasury                    Refund - 1st quarter 2015 Form          1224-000                 382.67                                          3,142.01
                                                      941
 08/17/15     {17}     The Hartford                   Personal property damage                1229-000                 500.00                                          3,642.01
                                                      10/22/14
 08/31/15              Rabobank, N.A.                 Bank and Technology Services            2600-000                                        10.00                    3,632.01
                                                      Fee
 09/09/15     {15}     US Treasury                    Refund of December 2008 form            1224-000                   1.45                                          3,633.46
                                                      944
 09/09/15     {5}      University of Arkansas         A/R Collection                          1121-000                1,500.00                                         5,133.46
 09/18/15     {9}      Home Brands Group LLC          Earnest Money Deposit. Sale of          1129-000            10,000.00                                           15,133.46
                                                      assets per Order, Dkt # 49.
                                                      Applied to Software & associated
                                                      code.
 09/24/15     {5}      MODA Health                    Final bill                              1121-000                  89.67                                         15,223.13
 09/30/15              Rabobank, N.A.                 Bank and Technology Services            2600-000                                        12.71                   15,210.42
                                                      Fee
 10/19/15              Home Brands Group LLCWells     Wire transfer. Sale of assets per                           40,000.00                                           55,210.42
                       Fargo SF                       Order, Dkt # 49.
              {9}      Home Brands Group, LLC         Allocation of sale proceeds to          1129-000
                                                      scheduled value of Software &
                                                      associated software code.
                                                                              $73,000.00
              {14}     Home Brands Group LLC          Allocation of sale proceeds to          1129-000
                                                      scheduled value of Servers.
                                                                               $3,500.00
              {13}     Home Brands Group LLC          Allocation of sale proceeds to          1129-000
                                                      scheduled value of Computers and
                                                      Monitors
                                                                               $1,500.00
              {12}     Home Brands Group LLC          Allocation of sale proceeds to          1129-000
                                                      scheduled value of Miscellaneous
                                                      equipment
                                                                               $1,000.00
                       William Smith                  Payment of secured claim in             4210-000
                                                      assets sold.
                                                                             -$39,000.00
 10/30/15              Rabobank, N.A.                 Bank and Technology Services            2600-000                                        42.97                   55,167.45
                                                      Fees
 11/30/15              Rabobank, N.A.                 Bank and Technology Services            2600-000                                        76.70                   55,090.75
                                                      Fees
 12/31/15              Rabobank, N.A.                 Bank and Technology Services            2600-000                                        87.17                   55,003.58
                                                      Fees
 01/29/16              Rabobank, N.A.                 Bank and Technology Services            2600-000                                        76.27                   54,927.31
                                                      Fees
 03/01/16              Rabobank, N.A.                 Bank and Technology Services            2600-000                                        76.16                   54,851.15
                                                      Fees
 03/31/16              Rabobank, N.A.                 Bank and Technology Services            2600-000                                        86.55                   54,764.60
                                                      Fees
 04/29/16              Rabobank, N.A.                 Bank and Technology Services            2600-000                                        75.93                   54,688.67
                                                      Fees



                                                                                          Page Subtotals:      $55,233.13                 $544.46


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                   ! - transaction has not been cleared
                     Case 15-63347-jwc                   Doc 101         Filed 12/30/20 Entered 12/30/20 17:13:10                                    Desc
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                                                                Form 2                                                                               Exhibit 9
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                                                Cash Receipts And Disbursements Record
Case No.:              15-63347-JWC                                       Trustee Name:                      S. Gregory Hays (300320)
Case Name:             HCG SOFTWARE, LLC                                  Bank Name:                         Mechanics Bank
Taxpayer ID #:         **-***6882                                         Account #:                         ******4866 Checking Account
For Period Ending:     12/02/2020                                         Blanket Bond (per case limit):     $30,203,000.00
                                                                          Separate Bond (if applicable):     N/A

    1            2                      3                                         4                                5                    6                        7

  Trans.    Check or       Paid To / Received From            Description of Transaction        Uniform        Deposit            Disbursement         Account Balance
   Date      Ref. #                                                                            Tran. Code        $                      $

 05/31/16              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      75.82                   54,612.85
                                                          Fees
 06/30/16              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      86.18                   54,526.67
                                                          Fees
 07/29/16              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      75.60                   54,451.07
                                                          Fees
 08/31/16              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      85.91                   54,365.16
                                                          Fees
 09/30/16              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      77.98                   54,287.18
                                                          Fees
 10/31/16              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      75.27                   54,211.91
                                                          Fees
 11/30/16              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      82.95                   54,128.96
                                                          Fees
 12/30/16              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      77.64                   54,051.32
                                                          Fees
 01/31/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      82.91                   53,968.41
                                                          Fees
 02/28/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      72.45                   53,895.96
                                                          Fees
 03/31/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      80.10                   53,815.86
                                                          Fees
 04/28/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      72.24                   53,743.62
                                                          Fees
 05/31/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      85.03                   53,658.59
                                                          Fees
 06/30/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      77.17                   53,581.42
                                                          Fees
 07/31/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      74.49                   53,506.93
                                                          Fees
 08/31/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      84.66                   53,422.27
                                                          Fees
 09/29/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      74.27                   53,348.00
                                                          Fees
 10/31/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      81.84                   53,266.16
                                                          Fees
 11/30/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      76.61                   53,189.55
                                                          Fees
 12/29/17              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      73.95                   53,115.60
                                                          Fees
 01/25/18     {6}      Public-Sector Solutions, inc       Settlement of claim between HCG      1149-000            12,500.00                                         65,615.60
                       (Yumkas, Vidmar IOLTA)             Trustee, PSS Trustee, USL
                                                          Financials, Inc., and Konstantinos
                                                          Alexakis per Order, docket # 74.
 01/31/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      87.03                   65,528.57
                                                          Fees
 02/28/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                      87.96                   65,440.61
                                                          Fees
 03/05/18     {6}      Joesph J Bellinger, Trustee for    Settlement of claim between HCG      1149-000            12,500.00                                         77,940.61
                       Public-Sector Solutions            Trustee, PSS Trustee, USL
                                                          Financials, Inc., and Konstantinos
                                                          Alexakis per Order, docket # 74.
 03/30/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                     108.50                   77,832.11
                                                          Fees



                                                                                           Page Subtotals:      $25,000.00            $1,856.56


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
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                                                                   Form 2                                                                               Exhibit 9
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                                                   Cash Receipts And Disbursements Record
Case No.:              15-63347-JWC                                        Trustee Name:                     S. Gregory Hays (300320)
Case Name:             HCG SOFTWARE, LLC                                   Bank Name:                        Mechanics Bank
Taxpayer ID #:         **-***6882                                          Account #:                        ******4866 Checking Account
For Period Ending:     12/02/2020                                          Blanket Bond (per case limit):    $30,203,000.00
                                                                           Separate Bond (if applicable):    N/A

    1            2                      3                                           4                              5                     6                          7

  Trans.    Check or        Paid To / Received From           Description of Transaction         Uniform       Deposit             Disbursement           Account Balance
   Date      Ref. #                                                                             Tran. Code       $                       $

 04/30/18              Rabobank, N.A.                     Bank and Technology Services          2600-000                                     108.21                     77,723.90
                                                          Fees
 05/31/18              Rabobank, N.A.                     Bank and Technology Services          2600-000                                     122.98                     77,600.92
                                                          Fees
 06/29/18              Rabobank, N.A.                     Bank and Technology Services          2600-000                                     107.89                     77,493.03
                                                          Fees
 07/31/18              Rabobank, N.A.                     Bank and Technology Services          2600-000                                     118.89                     77,374.14
                                                          Fees
 08/31/18              Rabobank, N.A.                     Bank and Technology Services          2600-000                                     115.00                     77,259.14
                                                          Fees
 09/28/18              Rabobank, N.A.                     Bank and Technology Services          2600-000                                       59.26                    77,199.88
                                                          Fees
 10/31/18              Rabobank, N.A.                     Bank and Technology Services          2600-000                                       69.79                    77,130.09
                                                          Fees
 01/30/20              Transition transfer Debit          Transition transfer debit. Transfer   9999-000                                 77,130.09                           0.00
                                                          from Mechanics Bank account to
                                                          East West Bank account

                                            COLUMN TOTALS                                                           80,233.13             80,233.13                         $0.00
                                                   Less: Bank Transfers/CDs                                              0.00             77,130.09
                                            Subtotal                                                                80,233.13                3,103.04
                                                   Less: Payments to Debtors                                                                    0.00

                                            NET Receipts / Disbursements                                           $80,233.13             $3,103.04




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                  ! - transaction has not been cleared
                     Case 15-63347-jwc                   Doc 101          Filed 12/30/20 Entered 12/30/20 17:13:10                                         Desc
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                                                                 Form 2                                                                                    Exhibit 9
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                                                 Cash Receipts And Disbursements Record
Case No.:              15-63347-JWC                                         Trustee Name:                      S. Gregory Hays (300320)
Case Name:             HCG SOFTWARE, LLC                                    Bank Name:                         East West Bank
Taxpayer ID #:         **-***6882                                           Account #:                         ******0099 Demand Deposit Account
For Period Ending:     12/02/2020                                           Blanket Bond (per case limit):     $30,203,000.00
                                                                            Separate Bond (if applicable):     N/A

    1            2                      3                                           4                                5                      6                          7

  Trans.    Check or       Paid To / Received From             Description of Transaction          Uniform       Deposit              Disbursement           Account Balance
   Date      Ref. #                                                                               Tran. Code       $                        $

 01/30/20              Transition Transfer Credit          Transition Transfer Credit. Transfer   9999-000           77,130.09                                             77,130.09
                                                           from Mechanics Bank account to
                                                           East West Bank account
 03/31/20              East West Bank                      Bank and Technology Service Fee        2600-000                                        61.63                    77,068.46
 04/30/20              East West Bank                      Bank and Technology Services           2600-000                                       123.18                    76,945.28
                                                           Fees
 05/29/20              East West Bank                      Bank and Technology Services           2600-000                                       118.88                    76,826.40
                                                           Fees
 06/30/20              East West Bank                      Bank and Technology Services           2600-000                                       130.98                    76,695.42
                                                           Fees
 07/31/20              East West Bank                      Bank and Technology Services           2600-000                                       126.67                    76,568.75
                                                           Fees
 10/21/20    1000      S. Gregory Hays, Trustee            Trustee commission and expenses                                                      4,986.52                   71,582.23
                                                           paid per Order, Dkt # 99.
                       S. Gregory Hays, Trustee            Trustee commission paid per            2100-000
                                                           Order, Dkt # 99.
                                                                                    $4,831.75
                       S. Gregory Hays, Trustee            Trustee expenses paid per Order,       2200-000
                                                           Dkt # 99.
                                                                                        $154.77
 10/21/20    1001      Arnall Golden Gregory LLP           Attorney fees and expenses paid                                                  42,206.29                      29,375.94
                                                           per Order, Dkt # 99.
                       Arnall Golden Gregory LLP           Attorney fees paid per Order, Dkt #    3210-000
                                                           99.
                                                                                   $41,869.94
                       Arnall Golden Gregory LLP           Attorney expenses paid per Order,      3220-000
                                                           Dkt # 99.
                                                                                        $336.35
 10/21/20    1002      Pierce McCoy PLLC                   Attorney fees paid per Order, Dkt #    3210-000                                      9,600.00                   19,775.94
                                                           99.
 10/21/20    1003      Hays Financial Consulting LLC       Accountant fees and expenses                                                     19,775.94                           0.00
                                                           paid per Order, Dkt # 99.
                       Hays Financial Consulting LLC       Accountant fees paid per Order,        3310-000
                                                           Dkt # 99.
                                                                                   $18,961.58
                       Hays Financial Consulting LLC       Accountant expenses paid per           3320-000
                                                           Order, Dkt # 99.
                                                                                        $814.36

                                            COLUMN TOTALS                                                            77,130.09               77,130.09                         $0.00
                                                    Less: Bank Transfers/CDs                                         77,130.09                      0.00
                                            Subtotal                                                                        0.00             77,130.09
                                                    Less: Payments to Debtors                                                                       0.00

                                            NET Receipts / Disbursements                                                   $0.00           $77,130.09




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                     ! - transaction has not been cleared
                  Case 15-63347-jwc               Doc 101        Filed 12/30/20 Entered 12/30/20 17:13:10                            Desc
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                                                       Form 2                                                                        Exhibit 9
                                                                                                                                     Page: 5
                                       Cash Receipts And Disbursements Record
Case No.:           15-63347-JWC                                     Trustee Name:                   S. Gregory Hays (300320)
Case Name:          HCG SOFTWARE, LLC                                Bank Name:                      East West Bank
Taxpayer ID #:      **-***6882                                       Account #:                      ******0099 Demand Deposit Account
For Period Ending: 12/02/2020                                        Blanket Bond (per case limit): $30,203,000.00
                                                                     Separate Bond (if applicable): N/A

                                       Net Receipts:                  $80,233.13
                           Plus Gross Adjustments:                    $39,000.00
                         Less Payments to Debtor:                           $0.00
                 Less Other Noncompensable Items:                           $0.00

                                         Net Estate:                 $119,233.13




                                                                                                        NET                     ACCOUNT
                                 TOTAL - ALL ACCOUNTS                             NET DEPOSITS     DISBURSEMENTS                BALANCES
                                 ******4866 Checking Account                            $80,233.13          $3,103.04                   $0.00

                                 ******0099 Demand Deposit Account                           $0.00              $77,130.09               $0.00

                                                                                        $80,233.13              $80,233.13               $0.00




UST Form 101-7-TDR (10 /1/2010)
